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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,
                                                              Case Number 07-20625-BC
                                                              Honorable Thomas L. Ludington
v.

D-8 JOSHUA LYNN MECOMBER,

                  Defendant.
_______________________________________/


     ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
 DEFENDANT’S PLEA OF GUILT AS TO COUNT ONE, AND TAKING THE RULE 11
                PLEA AGREEMENT UNDER ADVISEMENT

       A plea hearing was conducted on March 25, 2009, by United States Magistrate Judge Charles

E. Binder pursuant to the defendant’s consent. The magistrate judge issued his report on April 7,

2009, recommending that this Court accept the defendant’s plea of guilty. As of today’s date, no

party has filed any objections to the magistrate judge’s report and recommendation. The failure to

file objections to the report and recommendation waives any further right to appeal. Smith v. Detroit

Fed’n of Teachers Local 231, 829 F.2d 1370, 1373 (6th Cir. 1987). Likewise, the failure to object

to the magistrate judge’s report releases the Court from its duty to independently review the record.

Thomas v. Arn, 474 U.S. 140, 149 (1985). However, the Court agrees with the findings and

conclusions of the magistrate judge.

       Accordingly, it is ORDERED that the magistrate judge’s report and recommendation [Dkt

# 226] is ADOPTED.
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       It is further ORDERED that the defendant’s plea of guilt as to count one is ACCEPTED,

and the Rule 11 Plea Agreement [Dkt. # 210] is taken UNDER ADVISEMENT.

                                                       s/Thomas L. Ludington
                                                       THOMAS L. LUDINGTON
                                                       United States District Judge
Dated: April 30, 2009


                                                PROOF OF SERVICE

                        The undersigned certifies that a copy of the foregoing order was served
                        upon each attorney or party of record herein by electronic means or first
                        class U.S. mail on April 30, 2009.

                                                          s/Tracy A. Jacobs
                                                          TRACY A. JACOBS




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